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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

SAINT ALPHONSUS MEDICAL CENTER -    )
NAMPA, INC., et al.,                )        Case No. 1:12-CV-00560-BLW
                                    )        (Lead Case)
            Plaintiffs,             )
                                    )
v.                                  )
                                    )       GOVERNMENT PLAINTIFFS’
ST. LUKE’S HEALTH SYSTEM, LTD., and         UNOPPOSED MOTION FOR
                                    )
ST. LUKE’S REGIONAL MEDICAL CENTER          ORDER DISCHARING
                                    )
LTD.,                                       MONITOR AND
                                    )
            Defendants.                     ESTABLISHING REPORTING
                                    )
                                    )       REQUIREMENTS
FEDERAL TRADE COMMISSION and        )
STATE OF IDAHO,                     )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )
                                    )        Case No. 1:13-CV-00116-BLW
ST. LUKE’S HEALTH SYSTEM, LTD. and  )
SALTZER MEDICAL GROUP, P.A.,        )
                                    )
            Defendants.




GOVERNMENT PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER DISCHARGING MONITOR AND
ESTABLISHING REPORTING REQUIREMENTS - 1
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       The Government Plaintiffs, by and through undersigned counsel, move the Court for entry

 of the attached proposed Order. In support of this motion, the State of Idaho submits as follows:

       1.        On December 10, 2015, this Court entered an “Order to Maintain Assets and

Appointing a Monitor and a Divestiture Trustee” (“Order”).

       2.        The Monitor has, since that time, provided services under and pursuant to the

Court’s order.

       3.        The Government Plaintiffs, after consulting all parties and the Monitor, do not

believe his services are further needed.

       4.        The Government Plaintiffs have provided the proposed attached Order to the parties

in this case and have been advised that none opposes the entry of the Order.

       WHEREFORE, the Government Plaintiffs respectfully request that the Court enter the

attached proposed Order Discharging Monitor and Establishing Reporting Requirements

Dated: March 23, 2018

Respectfully submitted,

/s/ Brett T. DeLange


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GOVERNMENT PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER DISCHARGING MONITOR AND
ESTABLISHING REPORTING REQUIREMENTS - 2
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/s/ Eric D. Rohlck
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GOVERNMENT PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER DISCHARGING MONITOR AND
ESTABLISHING REPORTING REQUIREMENTS - 3
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 23th day of March, 2018, I filed the foregoing
electronically with the Clerk of Court through the CM/ECF system, which caused the following
parties or counsel to be served by electronic means:

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GOVERNMENT PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER DISCHARGING MONITOR AND
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      DATED this 23th day of March 2018.

                                           STATE OF IDAHO
                                           OFFICE OF THE ATTORNEY GENERAL


                                      By: /s/ Brett T. DeLange
                                          Brett T. DeLange
                                          Deputy Attorney General




GOVERNMENT PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER DISCHARGING MONITOR AND
ESTABLISHING REPORTING REQUIREMENTS - 5
